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140 ADAMS AVENU`E l\/[EMI’HIS, TENNESSEE 38103
FOR THE TH]RTIETH JUDICIAL DISTRICT AT l\/[EMPHIS ‘|: 2

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» / t . .
JOHN G. MON”l AGUE and his wife, 5993 sHADY GROVE ROAD, MEMPHIS, TENNESSEE
Home Address

GWENDOLYN W. MONTAGUE

 

Business Address

 

VS_ PLAINTIFF

PACIFIC INDEMNITY COMPANY and-
CHUBB GROUP OF INSURANC COMPANIES Home Address

 

 

Business Add'ress

 

 

DEFENDANT
TO THE DEFENDANT(S); MARTIN & ZERFOSS, M/G/A FOR PACIFIC INDEMNITY COMPANY
(PLEAS sERvE ANY oFFrcER, DIRECTOR, 1909 21st AVENUE `soUTH PLEASE sERvE rHRoUGH
DAVIDSGN COUNTY SHERIFF

 

NASHVH.LE, TENNESSEE 3 7"12-1587

 

MANAGING AGENT OR EMPLOYEE)

You are hereby summoned and required to defend a civil action by filing your answer with the Clerk of the Court and

serving a copy of your answer to the Complaint on JOHN B-.BAR.TELS Plaintiff‘s
attorney, Whose address is 5100 POPlar AVe-’ Suite 2100’ MemPhiS’ TN 38137 , telephone w Within

THIRTY (30 ) DAYS after this summons has been served upon you, not including the day of service. If you fail to do so, a

the Complaint.

judgment by default may be taken against you for the relief demanded in n
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.2009 . D.C.

TO THE DEFENDANT(S):

NOTICE: Pursuant to Chapter 919 of the Public Acts of 1980, you are hereby given the f owing notice:
Tennessee law provides a four thousand dollar ($4,000) personal property exemption from execution or seizure to satisfy a judgment. If -
a judgment should be entered against you in this action and you-wish to claim property as exempt, you must file a written list, under
oath, of the items you Wish to claim as exempt with the Clerk of the Court. 'Ihe list may be filed at any time and may be changed by you
thereafter as necessary; however, unless it is filed before the judgment becomes final, it will not be effective as to any execution or

' garnishment issued prior to the filing of the list. Certain items are automatically exempt by law and do not need to be listed. These
include items of necessary wearing apparel (clothing) for yourself and your family and trunks or other receptacles necessary to contain
such apparel, family portraits, the family Bible and school books. Should any of these items be seized, you would have the right to'
recover them. If you do not understand your exemption right or how.to exercise it, you may wish to seek the counsel of a lawyer.

' COST BOND g
I hereby acknowledge and bind myself for the prosecution of this action and payment of all costs not to exceed $500.00 m
p\lx\tiff in the event said plaintiff shall not pay the same.
x

,20

TESIED AND IssUED to / ll

this court which may at any time be adjudged against the

Witness My Hand this day of
Certification When applicable

 

Surety

I, I[MMY MOORE, Clerk of the Circuit`
Court, Shelby County, Tennessee, certify
this to be a true and accurate copy as filed
this

JIMMY MOORE, Clerk

EXH|B|T
By: , D.C.

`___Q__ Front

 

 

 

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Case 2:OQ-cv-02452-BBD§MUQQCUNQERWCEHQQ' QY)’MMB '§>age 2 of 12 Page|D 7
IHEREBY CERHFY THAT l HAVE SERVED THE_WITH]N SUMMONS:
By delivering on the / 2 day of T~/l ,-\ z , 20 L at M.

a copy of the summons and a copy of the Complaint to the following defendents
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IHEREBY CERTIF THAT I HAVE SERVED THE WITH]N SUl\/IMONS:

 

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day of 20' at » M. a copy of the

 

By delivering on the _
summons and a copy of the Complaint to the following defendants

(PLEASE PRINT 'IHE FOLLOWING)

 

 

 

 

 

Private Process Server Address
Phone
Com an .
p y Signature

Other manner of service:

 

 

l hereby certify that l have NOT served this Summons on the Within named defendant(s)

is / are not to be found in this County for the_

 

because
following reason(s):

 

Ma_rk Luttrell, Shen'ff

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

This dayof 20 By
- _ DeputySheriff
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JOHN G. MONTAGUE and his wife,
GWENDOLYN W. MONTAGUE,

Plaintiffs,
306<16’ No. Uvo_/Q;LYO?Y'O€

VS.
Dlv. //__/

PAC|F|C lNDEMNlTY COMPANY and
CHUBB GROUP OF lNSURANCE COMPAN|ES,

Defendants.

COMPLAINT

 

TO THE HONORABLE JUDGES{ OF THE ClRCUlT COURT OF SHELBY COUNTY,
TENNESSEE FOR THE THlRT|'ETH JUD|C|AL DlSTR|C,T AT MEMPH|S:

COME NOW your Plaintiffs, John G. l\/lontague and his Wife, Gwendolyn W.
Nlontague, and sue the Defendants, Pacific lndemnity Company and Chubb Group of
lnsurance Companies, for damages and for cause of action Would respectfully state and
show unto this Honorable Court as folloWs:

l. PARTlES

1. That your Plaintiffs, John G. l\/lontague and his Wife, Gwendolyn W.
Montague, are adult resident citizens of l\/lemphis, Shelby County, Tennessee and reside
at 5993 Shady Grove Road, l\/lem»phis, Tennessee,

2. `fhat the Defendant,1 Pacific lndemnity Company, at all times relevant to this
complaint and upon information and belief, is a business licensed to operate in and issue

policies of property and casualty insurance in the State of Tennessee, and Which can be

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served through the Tennessee Commissioner of lnsurance and its managing general
agent

3. That the Defendant, Chubb Group of lnsurance Companies, at all times
relevant to this complaint and upon information and belief, is a business licensed to
operate in and issue policies of property and casualty insurance in the State_ of Tennessee,
and Which can be served through the Tennessee Commissioner of lnsurance and its
managing general agent.

l|. JUR|SD|CT|ON AND VENUE
4. Defendants are regularly engaged in commercial transactions forthe purpose

of providing property and casualty coverage and policies Within the State of Tennessee for

the purposes of T.C.A. § 56-7-105(a).

5. Plaintiffs’ complaint arises in both tort and contract under and by virtue of the
applicable laws of the State of Tennessee for damages sustained by the Defendants’
failure to properly and timely handle and pay Plaintiffs’ claim.

6. Subject matterjurisdiction overthis action is proper pursuant to T.C.A. § 16-

10-101.

7. Venue for a trial on the merits in Shelby County, Tennessee is proper in part

by virtue of T.C.A. § 20-4-102.

8. The underlying claim and suit Which forms the basis of this suit occurred in
Shelby County, Tennessee, and all transactions upon Which form the basis of this suit
occurred in Shelby County, Tennessee, further establishing proper venue.

lll. FACTUAL ALLEGATlONS 5 l

9_ Plaintiffs hereby incorporate by reference the allegations submitted in

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paragraphs 1 through 8 above, as if the same Were fully set forth again, and further allege
and complain against the Defendants as follows:

10. Your Plaintiffs Would show that, in consideration of monies paid by your
Plalntiffs to the Defendants, the Defendants issued and delivered to your Plaintiffs a policy
of insurance, being Policy Number 12385625-01, insuring your Plaintiffs’ real estate and
dwelling, located at 5993 Shady Grove Road, l\/lemphis, Tennessee, against risks,

including loss from storm, for a period of one year from June 19, 2003.

11. Your Plaintiffs Would further show that, in consideration of additional monies
paid by your Plaintiffs to the Defendants, the policy limits of Policy Number 12385625-01,
insuring your Plaintiffs’ real estate and dwelling, located at 5993 Shady Grove Road,

l\/lemphis, Tennessee, against risks, including loss from storm, Were increased on July 3,

2003.

12. At all times relevant in this complaint, Plaintiffs had in force a policy of
property and casualty insurance numbered 12385625-01 unden/vritten by the Defendants

which provided for property and casualty coverage for the property located at 5993 Shady

Grove, l\/lemphis, Tennessee.

13. On or about July 22, 2003, the property located at 5993 Shady Grove,

l\/lemphis, Tennessee, Was damaged as a result of storm.

14. Thereafter, on or about July 22, 2003, notice of loss and damage Was
properly given by your P|aintiffs to the Defendants, and the P|aintiffs rendered statements
of loss, all in accordance With the terms of the aforesaid policy.

15. On November 7, 2008, your Plaintiffs made formal demand non the

Defendants for payment under the terms of the policy.

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16. Your Plaintiffs have complied fully with all of the provisions of the policy, but
the Defendants have declined and refuse to make payment to your Plaintiffs for the loss
and damage sustained

lV. FlRST CAUSE OF ACT|ON - BREACH OF CONTRACT

17. Plaintiffs hereby incorporate by this reference the allegations contained in
paragraphs 1 through 16 above, as if the same were fully set forth again; and do further
allege and complain against the Defendants as follows:

18. At all times relevant to _this Complaint, Plaintiffs had in force a policy of
property and casualty insurance numbered 12385625-0_1 unden/vritten by the Defendants
which provided for deluxe coverage with limits of $759,000.00 per occurrence

19. Defendants, underthe terms of their contract of insurance with the Plaintiffs,
were under a duty to fully and fairly investigate the circumstances surrounding the
Plaintiffs’ property loss claim of July 22, 2003.

20. At all times relevant to this complaint, beginning on or about Ju|y 23, 2003,
Defendants recklessly or negligently failed to fully and carefully investigate the
circumstances surrounding Plaintiffs’ property loss claim of July 22, 2003, and thereby
breached their duty to, and contract with, the Plaintiffs by (a) failing to fully and carefully
investigate the property loss claim of July 22, 2003 and (b) alleging that the property at
5993 Shady Grove Road, l\/lemphis, Tennessee was not damaged as reported by Plaintiffs,
and (c) denying Plaintiffs’ claim.

21. The Defendants’ breach of contract was the cause-in-fact of the denial of the

Plaintiffs’ property loss claim, and proximately caused the damages for which the Plaintiffs

now complain.

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22. Plaintiffs would further aver that the Defendants’ refusal to pay within sixty
(60) days after formal demand was made on November 7, 2008 for Plaintiffs’ claim
constitutes both a violation of Tennessee law and a breach of the parties’ contract of
insurance, proximately causing damages to the Plaintiffs.

23. The Defendants, by other acts, omissions and representations herein alleged
breached said contract of insurance, which Defendants had in full force and effect with
Plaintiffs.

24. ' Plaintiffs have incurred expenses, fees, and out-of-pocket losses as a direct
and proximate result of Defendants’ breach of contract of insurance and continue to suffer
additional damages as a result of the Defendants’ actions.

V. SECOND CAUSE OF ACTION - lNSURANCE BAD FAlTH

25. Plaintiffs hereby incorporate by this reference the allegations contained in
paragraphs 1 through 24 hereinabove, as if the same were fully set forth again; and do
further allege and complain against the Defendants as follows:

26. Defendants owed a duty of good faith and fair dealing to the Plaintiffs in their
evaluation of Plaintiffs’ claim; and were required to conduct an honest and fair investigation
of said claim upon notice of Plaintiffs’ formal demand.

27. Plaintiffs would aver, upon information and belief, that through the existence
of reasonable diligence and by conducting an honest and`fair investigation of Plaintiffs’
claim, the Defendants could have easily ascertained that the property damage claim was
a covered loss, and that the Defendants had no reasonable grounds for the assertion of
any denial of the claim or any other meritorious defense to Plaintiffs’ claim.

28. The Defendants’ refusal to tender payment within sixty (60) days after

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Plaintiffs’ formal demand, which was made on November 7, 2008, constitutes a prima facie
violation of T.C.A. § 56-7-105(a); said violation and Defendants’ unreasonable delay
constituting a bad faith refusal and delay in honoring the parties contract of insurance
29. The Defendants, at all times relevant to this Complaint, failed to provide
Plaintiffs’ an arguable, legitimate question of coverage for its refusal to pay same.
30. Further, the Defendants were provided information and documentation by the
Plaintiffs sufficient to demonstrate that no legitimate question of coverage existed as to

Plaintiffs’ claim and that there was no need for litigation in order to investigate the validity

of the claim.

31. Defendants, by other acts, omissions and representations as alleged herein,
have subordinated the rights and interests of the Plaintiffs for the unfair benefit and
advantage of the Defendants.

32. Plaintiffs have incurred expenses, fees and other losses as a direct and
proximate result of the Defendants’ bad faith conduct in relation to the contract of
insurance and Plaintiffs have suffered additional damages, including attorneys fees and
costs, as a consequence of the Defendants’ unsubstantiated refusal to pay.

Vl. TH|RD CAUSE OF ACT|ON - FRAUD

33. Plaintiffs hereby incorporate by reference the allegations contained in
Paragraphs 1 through 32 hereinabove, as if the same were fully set forth again; and do
further allege and complain against the Defendants as follows:

34. Defendants, through their employees and agents, repeatedly made false and

intentionally misleading statements and representations which were designed and intended

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to avoid or delay payment of Plaintiffs’ claim in violation of the contract of insurance

35. The Defendants also engaged in other acts and omissions in violation of the
terms of the contract of insurance, which include, but are not limited, to the following:

a) Representing that Defendants had carefully examined the circumstances
surrounding the Plaintiffs’ claim, while recklessly or intentionally failing to do
so;

b) Representing that Defendants had spoken to all known parties, individuals,
or entities to reach a conclusion that the Plaintiffs’ property damage claim
was not covered, when in fact it had recklessly or intentionally failed to do so.

36. The Defendants’ false representations7 acts and omissions unreasonably
delayed final resolution of the Plaintiffs’ claim when Defendants knew, or through the
exercise of reasonable diligence should have known, that the same was in bad faith and
in violation of Tennessee law and the parties’ contract of insurance

37. Plaintiffs would aver that the Defendants’ conduct in denying their claim was
reckless and intentional; and that the Defendants’ fraudulent conduct directly and
proximately caused the damages to Plaintiffs as complained herein,

38. The Defendants sought to deliberately mislead Plaintiffs through the above-
described false representations acts and omissions in order to gain an unfair advantage
over Plaintiffs for the purpose of avoiding or delaying payment upon Plaintiffs’ claim.

39. The Plaintiffs were in fact misled by the Defendants’ false representations;
and have incurred expenses, fees and losses as a direct and proximate result of the
Defendants’ bad faith conduct in relation to the contract of insurance; and Plaintiffs have
suffered additional damages as a result of the Defendants’ conduct in causing an

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unreasonable delay in resolving this matter.
Vll. FOURTH CAUSE OF ACT|ON - V|OLAT|ON OF TENNESSEE CONSUMER
PROTECTION ACT

40. Plaintiffs hereby incorporate by reference the allegations contained in
Paragraphs 1 through 39 hereinabove as if the same were fully set forth again; and do
further allege and complain against the Defendants as follows:

41. As indicated above, Plaintiffs made formal demand upon Defendants for
payment under the contract of insurance on or before November 7, 2008; and Plaintiffs
provided all documentation and opportunity reasonably necessary for the Defendants to
properly evaluate Plaintiffs’ claim, at the very latest, on November 7, 2008, which
established Defendants’ obligation to payto its insureds and in accordance with the parties’
contract of insurance

42. Defendants unreasonably delayed and refused to make payment to the

Plaintiffs even though as of November 7, 2008, Plaintiffs had met all statutory, contractual

and common law requirements for the Plaintiffs’ claim.

43. The false representations, acts and omissions of the Defendants, their
agents, and authorized representatives as alleged herein constitute unfair and deceptive
acts and/or practices affecting the conduct of trade or commerce; and the same did
adversely affect the consumers, John G. l\/lontague and`his wife, Gwendolyn W. l\/lontague.

44. The Tennessee Consumer Protection Act was in full force and effect at all

relevant times alleged herein, including, but not limited to, T.C.A. §§ 47-18-104(a), 47-18-

109(3)(1) and 47-18-104(b)(27).

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45. As a direct and proximate result of the false-representations, acts and
omissions and practices described hereinabove; Plaintiffs have suffered and will continue
to suffer economic damages

PRAYER FOR REL|EF

WHEREFORE, based upon the foregoing, Plaintiffs hereby respectfully pray that
this Court enter Judgment against the Defendants as follows:

46. Plaintiffs seek judgment for statutory, pre-judgment interest pursuant to
Tennessee Code Annotated, § 47-14-123, based upon the reasonable and fair market
value ofthe Defendants’ policy limits in the amount of not less than Fifty Thousand Dollars
($50,000.00) accruing from July 22, 2003; and trebled damages for the Defendants’
unreasonable delay in paying the claim as provided by the Tennessee Consumer Sales
Practices Act, and Defendants’ bad faith denial of Plaintiffs’ claim; plus such relief as
damages in an amount not less than Five Hundred Thousand Dollars ($500,000.00). ln
addition,

A. Plaintiffs pray for judgment in the amount of a twenty-five percent (25%)
penalty pursuant to Tennessee Code Annotated, § 56-7-105(a) plus interest thereon;

B. Plaintiffs pray for damages for economic loss and for lost opportunity costs
and damages caused by Defendants’ false and fraudulent representations which were
reasonably relied upon by Plaintiffs in an amountto be proven at trial but not less than Five
Thousand Dollars ($5,000.00);

C. Plaintiffs pray for Treble Damages pursuant to Tennessee Code Annotated,

§47-18-101 et seq. for all economic, statutory and pecuniary loss in an amount to be

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proven at trial but not less than Thirty Thousand Dollars ($30,000_00);
D. Plaintiffs pray for compensatory damages in an amount to be proven at trial;
E. Plaintiffs pray for punitive damages as exemplary compensation for
Defendants’ willful, intentional and/or grossly negligent representations, practices, actions

and omissions in an amount to be determined by a jury of twelve (12) persons.

F. Plaintiffs pray for a jury of twelve (12) persons to try-their cause of action;
and
G. Plaintiffs pray for attorney’s feesl costs and such other and further relief and

damages as may be deemed appropriate in this matter at trial.

Respectfully submitted,
LAW OFFICE OF JOHN B. BARTELS
_\

JO B. BARTELS (BPR#020608)
Atto neyf r Plaintiffs

510 - ar Avenue, Suite 2100
l\/lemphis, Tennessee 38137
(901) 767-8500

(901) 767-8300 (facsimile)

 

 

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